Case 3:16-cv-03089-N Document 332 Filed 09/27/23 Pagelofi PagelD 9415

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

VICKI TIMPA, et al.,
Plaintiffs,
Civil Action No. 3:16-CV-3089-N

V.

DUSTIN DILLARD, et al.,

Cr Lr Lr Lr Lr Lr Ln Lr

Defendants.

VERDICT OF THE JURY

We, the jury, have answered the above questions as indicated, and now return
those questions and answers to the Court as our verdict.

SIGNED this ‘24 — day of September, 2023.

-.) JeR- wazyilZ
PRESIDING JUROR

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